               Case 17-10679-LSS         Doc 273     Filed 03/03/21    Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                             Chapter 7

MAD CATZ, INC.,                                    Case No. 17-10679 (LSS)

                               Debtor.


SUPPLEMENTAL DECLARATION IN SUPPORT OF THE APPLICATION OF DAVID
 W. CARICKHOFF, CHAPTER 7 TRUSTEE, PURSUANT TO BANKRUPTCY CODE
SECTIONS 327(a) AND 328(a), BANKRUPTCY RULES 2014(a) AND 2016, AND LOCAL
RULE 2014-1 FOR AUTHORITY TO EMPLOY AND RETAIN GIULIANO, MILLER &
COMPANY, LLC AS ACCOUNTANTS AND FINANCIAL ADVISORS TO CHAPTER 7
                 TRUSTEE, NUNC PRO TUNC TO APRIL 8, 2017


         I, Donna Miller, do hereby declare as follows:

         1.     I am a CPA and Manager in the accounting and consulting firm of Giuliano,

Miller & Company, LLC (“GMC”), which maintains offices at 2301 E. Evesham Road, Pavilion

800, Suite 210, Voorhees, New Jersey 08043. As such, I have direct knowledge of the facts

contained in this declaration (the “Declaration”), and I am authorized to make this Declaration.

         2.     I submit this declaration (the “Supplemental Declaration”) to supplement the

affidavit(s) previously submitted on behalf of GMC in support of the engagement of GMC as

accountants and financial advisors to David W. Carickhoff, the Chapter 7 Trustee (the

“Trustee”), in the above-captioned case (the “Chapter 7 Case”) and to provide disclosures

regarding changes in GMC’s hourly rates.

         3.     As described in the Application of David W. Carickhoff, Chapter 7 Trustee,

Pursuant to Bankruptcy Code Sections 327(a) and 328(a), Bankruptcy Rules 2014(a) and 2016,

and Local Rule 2014-1 for Authority to Employ and Retain Giuliano, Miller & Company, LLC,

as Accountants and Financial Advisors to the Chapter 7 Trustee, Nunc Pro Tunc to April 8, 2017
              Case 17-10679-LSS          Doc 273      Filed 03/03/21     Page 2 of 3




[Docket No. 18] (the “Retention Application”), GMC’s hourly billing rates are subject to

periodic review and adjustments to reflect, among other things, changes in responsibilities and

increased experience. GMC last increased its hourly rates in January of 2020, and has determined

that it needs to increase its hourly rates to appropriately reflect current market conditions. The

Retention Application was approved by the Court’s Order entered May 31, 2017 [Docket No. 44]

(the “Retention Order”). Pursuant to the Retention Application and Retention Order, GMC is to

provide reasonable notice to the Chapter 7 Trustee and the U.S. Trustee in connection with any

increase of GMC’s hourly billing rates and file a notice of any such increase with the Court.

       4.      Effective as of January 1, 2021, GMC has increased the hourly rates of all GMC’s

professionals working in its offices with respect to all matters. The hourly rates of professionals,

including those involved with representation of the Chapter 7 Trustee, have been increased as

follows:

                         Professional Type and         New Hourly Rate
                         Level

                         Senior Member                $695

                         Manager                       $545

                         Senior Staff                  $450 - $475

                         Staff                         $295 - $375

                         Paraprofessional              $240


       5.      The new hourly rates for professionals to be charged by GMC are reasonable

based upon the customary compensation charged by GMC and comparably skilled professionals

at other firms in cases and matters other than in cases under the Bankruptcy Code. GMC has




                                                  2
               Case 17-10679-LSS       Doc 273      Filed 03/03/21   Page 3 of 3




carefully considered this rate increase, as well as the rate increases of other firms providing

similar services.

        6.     GMC has notified the Chapter 7 Trustee of the hourly rate increases disclosed in

this Supplemental Declaration.

        7.     The foregoing constitutes a Supplemental Declaration of GMC pursuant to the

Retention Order.


Dated: March 3, 2021                                     /s/ Donna Miller
                                                   Name: Donna Miller

217870517v1




                                               3
